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                                 IN THE UNITED STATES DISTRICT COURT
                                  FOR THE EASTERN DISTRICT OF TEXAS
                                          SHERMAN DIVISION

   JUAN LOZADA-LEONI,                 §
                                      §
       Plaintiff,                     §
                                      §
   v.                                 §
                                      §                                Civil Action No. 4:20-cv-00068-RWS-CMC
   MONEYGRAM INTERNATIONAL, INC., and §
   MONEYGRAM PAYMENT SYSTEMS, INC. §
                                      §
       Defendants.                    §

                                DEFENDANTS’ RESPONSE TO PLAINTIFF’S
                                  MOTION FOR A PROTECTIVE ORDER

              Defendants MoneyGram International, Inc. (“MGI”) and MoneyGram Payment Systems,

   Inc. (“MPSI”) (collectively, Defendants”) file this Response to Plaintiff Motion for a Protective

   Order (“Motion”) [Dkt. No. 76] and state:

                                                  I.       INTRODUCTION

              In this lawsuit, Plaintiff Juan Lozada-Leoni (“Plaintiff”) has pleaded a single cause of

   action against Defendants for retaliation in violation of the Sarbanes-Oxley Act of 2002 (“SOX”),

   arising from the alleged wrongful termination of Plaintiff’s employment in April 2017. [Dkt. No.

   21 (Second Amended Complaint) ¶¶ 88-90.] After MPSI terminated his employment,1 Plaintiff

   opened his own law practice in “maybe June, the first week of June,” of 2017, under the name of

   “Law Office of Juan Lozada Leoni,” in lieu of seeking employment with another employer. See

   Exhibit 1 (Lozada Trans. at 10:24 – 11:18).2




   1
    Although Plaintiff sued both Defendants, he has conceded that he was employed only by MPSI, and not MGI, its
   parent company. See Defendant MGI’s Motion for Summary Judgment. [Dkt. No. 79].
   2
       Excerpts from the May 23, 2018, deposition of Plaintiff are attached hereto as Exhibit 1.


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                        II.      RELEVANT FACTUAL AND PROCEDURAL HISTORY

   A.         Damages Discovery at the Administrative Stage.

              As the Court is aware, prior to its removal to this Court, this suit was pending before an

   Administrative Law Judge at the Department of Labor. On May 22, 2018, the day before his

   deposition, Plaintiff served his First Amended Disclosures in the administrative proceeding, in

   which he revealed that he was seeking back pay and lost future earnings based on having had to

   “cut his salary by 2/3 in order to survive in the only job he was able to get, his own solo practice.”

   See Exhibit 2.3 Although Plaintiff had previously produced a substantial number of documents

   relating to the merits of his claims with his required disclosures, he had not produced documents

   relating to his law practice or his alleged damages. Counsel for the Parties discussed this issue

   during the May 23 deposition, and counsel for Plaintiff agreed to produce tax returns and related

   documents for both Plaintiff and his law practice prior to the scheduled resumption of Plaintiff’s

   deposition in June 2018.

              On June 4, 2018, counsel for Plaintiff emailed copies of Plaintiff’s personal income tax

   return for 2017, as well as a profit and loss statement, balance sheet, and corporate tax return for

   the Law Office of Juan Lozada, also for the year 2017. See Exhibit 3.4 As discussed below, Plaintiff

   testified about these documents during his June 19, 2018, deposition. At no time did Plaintiff or

   his attorney claim that these documents were irrelevant or confidential, that their production was

   burdensome, or that the law firm documents were not within Plaintiff’s control.




   3
       Plaintiff’s First Amended Disclosures are attached hereto as Exhibit 2.
   4
       The June 4, 2018, email from Steve Kardell to John Barcus is attached hereto as Exhibit 3.


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   B.         Damages Discovery in this Lawsuit.

              In his Second Amended Complaint, Plaintiff also seeks damages including (i) “back pay

   (lost wages and benefits)” and (ii) “attorney’s fees and costs.” [Dkt. 21 at p. 23.] Plaintiffs in

   employment cases have a long-recognized duty to mitigate their damages, and in their answers,

   Defendants have each pleaded that Plaintiff failed to mitigate any alleged damages. [Dkt. 77 ¶ 98

   (MGI) and 78 ¶ 97 (MPSI).] On February 28, 2020, Defendants timely served two sets of narrowly-

   tailored written discovery requests directed specifically at the issue of Plaintiff’s mitigation of his

   alleged damages (the “Mitigation Discovery”), including Requests for Production of Documents

   (14 requests) (“Requests”) and Interrogatories (16 questions). The Requests and Interrogatories

   are attached hereto as Exhibits 4 and 5, respectively. One of the purposes of the Mitigation

   Discovery was to “bring current” the tax and financial records of Plaintiff’s law practice through

   2018, 2019, and 2020.5

   C.         The Extension of the Answer Date.

              Plaintiff’s deadline to respond to the Requests and answer the Interrogatories, or to serve

   any objections to the Mitigation Discovery, was March 28, 2020. On March 20, 2020, Plaintiff

   asked Defendants to extend the deadline for Plaintiff to answer the Mitigation Discovery until

   April 27, 2020, ostensibly because “the coronavirus has hurt Plaintiff’s ability to calculate Mr.

   Lozada’s total gross wages in each year of employment.” [Dkt. No. 63.] Defendants agreed, and

   the Court granted the motion to extend Plaintiff’s deadline to answer the discovery. [Dkt. No. 64.]




   5
       The Mitigation Discovery became necessary after Plaintiff failed to comply with Rule 26(e)’s duty to supplement.


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   D.         The Pending Motion and the Four Requests in Dispute.

              On April 14, 2020, evidently while still working on calculating his “gross wages,” Plaintiff

   filed the Motion, seeking to avoid producing (1) certain financial information relating to his law

   practice, and (2) any fee agreements he has or had with his counsel under which he seeks to recover

   attorney’s fees. The specific Requests at issue are:

              Request No. 2. The federal income tax returns for the Law Office of Juan Lozada
              for 2018 and 2019, including all schedules and attachments. If the 2019 tax return
              is incomplete or unavailable as of the date of your responses, you are reminded of
              your duty to supplement your production as soon as the documents become
              available.

              Request No. 3. Monthly, quarterly, and annual profit and loss statements for the
              Law Office of Juan Lozada from 2018, to the present.

              Request No. 4. The current or most recent balance sheet for the Law Office of
              Juan Lozada- Leoni.

              Request No. 12. Your fee agreements with every law firm or attorney that
              currently or in the past has represented you in this lawsuit, including but not limited
              The Kardell law Group, the Smith Weber Law Firm, and the Law Offices of Juan
              Lozada.

   [Motion (Dkt. No. 76) at pp. 1-2.]6 For the reasons set forth below, the Court should deny the

   Motion and order Plaintiff to fully respond and produce all responsive documents to the above-

   quoted Requests.




   6
       Plaintiff “re-numbered” these as requests 1 through 4 in the Motion.


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                                     III.     ARGUMENT AND AUTHORITY

   A.       The Scope of Discovery Under Rules 26 and 34.

            Under Rule 34(a), a party “may serve on any other party a request within the scope of Rule

   26(b) . . . to produce and permit the requesting party or its representative to inspect, copy, test, or

   sample” any designated documents or electronically stored information7 “in the responding party's

   possession, custody, or control.” Fed. R. Civ. P. 34(a)(1)(A). Rule 26(b), in turn, provides that:

            Parties may obtain discovery regarding any nonprivileged matter that is relevant to
            any party's claim or defense and proportional to the needs of the case, considering
            the importance of the issues at stake in the action, the amount in controversy, the
            parties’ relative access to relevant information, the parties’ resources, the
            importance of the discovery in resolving the issues, and whether the burden or
            expense of the proposed discovery outweighs its likely benefit. Information within
            this scope of discovery need not be admissible in evidence to be discoverable.

   Fed. R. Civ. P. 26(b)(1). Because all of the information sought in the challenged requests is

   relevant to the Parties’ claims and defenses, as set forth below, the Court should deny the Motion

   and order Plaintiff to produce responsive documents.8

   B.       The Financial Requests.

            1.       Plaintiff’s Grounds for Objection. Three of the four requests seek financial

   information regarding Plaintiff’s law firm:              tax returns, profit and loss statements, balance

   statements, and tax returns for 2018, 2019 and 2020 (collectively, the “Financial Requests”). In

   other words, the same type of documents Plaintiff voluntarily produced for 2017. Plaintiff seeks


   7
     Including writings, drawings, graphs, charts, photographs, sound recordings, images, and other data or data
   compilations stored in any medium from which information can be obtained either directly or, if necessary, after
   translation by the responding party into a reasonably usable form. Id.
   8
    The Court should also deny the Motion because Plaintiff’s objections are untimely and have been waived. Plaintiff
   sought and obtained an extension of his deadline to answer and respond to the Mitigation Discovery, not an extension
   of his deadline to serve objections. Likewise, the Court’s order, which matches the proposed order Plaintiff submitted,
   only addressed an extension of the date to answer – not object (“ORDERED that the deadline for the Plaintiff to
   answer Defendants’ Requests for Production and Interrogatories is extended to April 27, 2020” (emphasis added).
   Plaintiff’s deadline to object was March 28, 2020. He has never served objections, and to the extent the Motion
   constitutes an objection, it is untimely. Thus, the Court can and should deny the Motion on this ground alone, before
   even reaching its merits.


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   protection from the Financial Requests for several vaguely-explained reasons, but his primary

   argument seems to be that “defendants served plaintiff a request for production where defendants

   requested corporate tax returns and a great deal of confidential information from the private entity

   that plaintiff controls.” [Motion (Dkt. No. 76) at p. 3 (emphasis supplied).] He characterizes the

   Financial Requests as a “fishing expedition” and as “overbroad and duplicative,” and as imposing

   an “undue burden or expense” on him. Id. Finally, he accuses Defendants of attempting to use the

   Financial Requests to “circumvent” Federal Rule of Civil Procedure 45, “which controls and limits

   the discovery that can be requested from a non-party.” Id. He has promised to answer the

   Interrogatories “stating the amount of wages and non-wage income received by him,” as though

   that excuses him from producing corroborating documents. None of these arguments have merit.

          2.      The Financial Records are Within Plaintiff’s Control.               Plaintiff’s initial

   argument – that the documents sought in the Financial Requests belong to an alleged third party –

   fails on several independent grounds. First, even if Plaintiff’s law firm is technically a separate

   legal entity, which Plaintiff alleges but never proves, Rule 34 renders that distinction and argument

   legally irrelevant. As quoted above, Rule 34 requires a party to produce documents that are within

   its “possession, custody, or control.” Control means both actual possession and the legal right,

   authority, or ability to obtain documents on demand. See, e.g., Cochran Consulting, Inc. v. Uwatec

   USA, Inc., 102 F.3d 1224, 1229-1230 (Fed. Cir. 1996); Hernandez v. Results Staffing, Inc., No.

   4:14-cv-182-A, 2017 WL 3842858, at *14 (N.D. Tex. Sept. 1, 2017) (“the word ‘control,’ when

   used in a discovery sense, includes the legal right, authority, or ability of a party responding to

   discovery to obtain documents on demand”); Cadle Co. v. Terrell, No. 4:01-cv-0399-E, 2002 WL

   22075, at *5 (N.D. Tex. Jan. 7, 2002) (responding party had the right to obtain records from his




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   credit card company and his bank, and objection that documents were not within his “actual

   possession, custody, or control” lacked merit).

          As Plaintiff concedes in the Motion itself, Plaintiff “controls” the allegedly separate entity.

   As the exclusive owner of his law practice (Plaintiff does not suggest there is another partner or

   owner of his law practice), Plaintiff has full and unfettered access to the requested records, and his

   suggestion that they need not be produced because Defendants did not subpoena them from his

   law firm, which presumably would have meant serving a subpoena on Plaintiff as the owner of the

   law firm, is the height of gamesmanship. As noted above, Plaintiff had previously produced the

   law firm’s profit and loss statement, balance sheet, and tax return for 2017 – something Plaintiff

   very conspicuously failed to tell the Court about in the Motion. Attached as Exhibit 6 is a redacted

   copy of Exhibit 25 to Plaintiff’s June 19, 2018, deposition testimony. These are the documents

   regarding his law firm that Plaintiff voluntarily produced with the June 4, 2018, email. The first

   two pages are a profit and loss statement. The third page is a balance sheet. The remaining pages

   constitute the 2017 tax return of the Law Office of Juan Lozada, which indicates that the entity

   was allegedly incorporated on April 17, 2017 (nearly contemporaneous with his termination by

   MPSI), had gross receipts of $139,095 for the remainder of 2017, and paid Plaintiff, the entity’s

   only officer, just $23,184 of those receipts as compensation.

          In the Financial Requests, Defendants seek production of the 2018 through 2020 versions

   of these documents, not only to determine Plaintiff’s reported compensation, but also to investigate

   whether Plaintiff’s reported compensation is a true measure of whether he has suffered economic

   damages. For example, many of the business expenses claimed by the entity in 2017 appear to be

   personal in nature (including a total of tens of thousands of dollars in automobile and travel

   expenses). Plaintiff made no objection to producing this document at the administrative stage, and




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   answered questions about it during his deposition, claiming that he paid “a very small income for

   myself because I wasn’t sure if I was going to make a profit,” and also testifying that he really did

   incur over $4,000 in automobile maintenance costs (“tires and different things”) in the last eight

   months of 2017 on a new vehicle he claims to have leased solely for business purposes. See Exhibit

   7 (Lozada Trans. II 104:23 – 109:14).9 Thus, his own prior conduct undercuts his current argument

   that requested documents belong to his law firm and not him.

            Moreover, to the extent any doubt remains on this topic, Plaintiff’s offer in the Motion to

   “provide the Judge with a copy of the 2018 and 2019 federal income tax returns, the 2018 through

   2020 monthly, quarterly, and annual profit and loss statements, and the most recent balance sheet

   for the Law Office of Juan Antonio Lozada, PLLC for in-camera review” [Motion (Dkt. No. 76)

   at pp. 4-5] makes clear that Plaintiff “controls” his law firm’s books and records, including its

   profit and loss statements, balance sheets, and tax returns, to be able even make this offer.

            3.       The Financial Requests are Narrowly Tailored. Plaintiff further complains that

   the Financial Requests are overly broad, unduly burdensome, duplicative, and oppressive. The

   Financial Requests are narrowly tailored and simply seek for 2018 and 2019 what Plaintiff has

   already produced for 2017. Nothing more. Plaintiff alleges but offers no proof that producing the

   updates to these documents is, in any way, burdensome or costly, and again, his offer to produce

   them to the Court for inspection belies the argument. His blanket assertion of burdensomeness,

   with no proof or indication of how this is so, is entitled to no weight.

            4.       Confidentiality is Irrelevant. Plaintiff’s confidentiality concerns regarding these

   documents are easily resolved. Plaintiff produced the 2017 financial documents (as well as his

   personal income tax return) during the administrative stage of the proceeding without requesting


   9
    Excerpts from the June 19, 2018, Deposition of Juan Lozada-Leoni, i.e., volume II of his deposition, are attached as
   Exhibit 7.


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   any sort of protective order or designation of confidentiality.10 To the extent Plaintiff has any

   concerns, Defendants agree to the entry of the standard Non-Patent Protective Order published on

   the Court’s website, and have extended that offer in writing to counsel for Plaintiff. Counsel for

   Plaintiff has yet to respond. However, assuming Plaintiff is amenable, the Parties will file a joint

   motion. Alternatively, the Court can readily enter an order that addresses this issue and still allows

   for the production of this information. In any event, “confidentiality” is not a valid objection or a

   proper basis upon which to refuse to produce the requested documents.

              5.        Interrogatory Answers Do Not Preclude Production. Finally, Plaintiff’s claim

   that he will be providing sworn interrogatory answers (using data from law firm documents he

   controls) does not alleviate him from producing documents responsive to the Financial Requests.

   The Federal Rules of Civil Procedure permit both interrogatories and document requests for a

   reason: one party need not take the “word” (even if sworn) of the other party regarding what has

   occurred. The documents covered by the Financial Requests may well tell a much different story

   of Plaintiff’s true earnings than how he (a self-proclaimed skilled trial lawyer) chooses to

   characterize those earnings. Plaintiff has every incentive to minimize the amount of income he has

   earned from his law practice in the way he answers the Interrogatories. The best evidence of how

   much income Plaintiff’s law practice has generated, and therefore what amount of lost wages

   Plaintiff truly has suffered, are his law firm’s financial records. The Court should deny the Motion

   and reject Plaintiff’s specious arguments about needing to be protected from disclosing more of

   the very basic financial documents he has already produced without prior complaint.




   10
        Nevertheless, as a courtesy to Plaintiff, most of the financial information has been redacted from Exhibit 6.


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   C.     The Fee Agreements.

          Plaintiff also asks the Court to excuse him from producing his fee agreements with the

   three law firms that have represented him in this lawsuit, because “Plaintiff’s lawyers prepared the

   fee agreements in anticipation of litigation.” [Motion (Dkt. No. 76) at p. 7.] Plaintiff seeks to

   recover attorneys’ fees. [Dkt. No. 21 at p. 23.] It is blackletter law that when a party seeks to

   recover attorneys’ fees, his fee agreement with his attorneys is discoverable. See, e.g., Bustamante

   v. State Farm Lloyds, No. 5:15-cv-184, 2016 WL 10655600, at *1 (S.D. Tex. June 20, 2016

   (“because Plaintiff is seeking to recover her attorneys’ fees from Defendant, her fee agreement

   with her attorney is relevant, discoverable, and admissible”); Hernandez v. Scott, No. SA-10-CV-

   1051, 2011 WL 2619342, at *1 (W.D. Tex. July 1, 2011) (rejecting plaintiff’s argument that fee

   agreement and billing statements need not be produced until after trial, because “the information

   sought through these production requests will enable defendant to assess its total liability if

   plaintiff prevails on her claim”); Dunn v. Schlumberger Tech. Corp., No. 08-CV-3238, 2010 WL

   11646536, at *2 (S.D. Tex. July 10, 2010) (“in an employment discrimination case such as this, a

   prevailing party may be entitled to attorney’s fees; Plaintiff’s fee structure is therefore

   discoverable”) (citing Hensley v. Eckerhart, 461 U.S. 424, 429 (1983)).

          The documents are not privileged. “Financial transactions between the attorney and client,

   including the compensation paid by or on behalf of the client are not generally within the privilege

   except in special circumstances[.]” United States v. Davis, 636 F.2d 1028, 1044 (5th Cir. 1981).

   See, e.g., Jeanbaptiste v. Wells Fargo Bank, N.A., No. 3:14-cv-264-K, 2014 WL 6790737, at *3

   (N.D. Tex. Dec. 1, 2014) (“The Fifth Circuit has long recognized the general rule that matters

   involving the payment of [attorney’s] fees . . . are not generally privileged”); Dunn, 2010 WL

   11646536, at *2 (“attorney’s fees generally do not fall within attorney-client privilege”) (citing




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   cases). As the Dunn court observed, “to the extent the contract between Plaintiff and his attorney

   contains anything that is subject to the attorney-client privilege, that information can be redacted.”

   Id.

          Plaintiff does not address this line of cases, and offers no substantive explanation of how

   any fee agreements with counsel contain “work product,” citing only to Hickman v. Taylor, 329

   U.S. 495 (1947). Hickman, which arose from a boating accident that resulted in several deaths, has

   no bearing on the discoverability of fee agreements. The defendant in Hickman, assumed (correctly

   so) that it might be sued following this accident. To aid in the defense of that anticipated litigation,

   it retained counsel who investigated the incident, interviewed various witnesses, and drew

   conclusions about the events. The Court addressed whether such statements made or obtained by

   counsel were discoverable, or whether they were protected as work product because they reflected

   counsel’s metal thought processes. Hickman did not involve a party’s fee agreement with counsel

   where that party sought to recover its fees, and nowhere does the Court even discuss that issue in

   its opinion. Unless and until Plaintiff is willing to stipulate that he does not and will not seek to

   recover attorneys’ fees, the Fee Agreements must be produced.

                                       IV.     RELIEF REQUESTED

          For the foregoing reasons, Defendants respectfully request that the Court deny the Motion

   in its entirety, award Defendants their fees and expenses, and grant all other relief, general or

   special, at law or in equity, to which Defendants may be justly entitled.




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                                                Respectfully submitted,


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                                                ATTORNEYS FOR DEFENDANTS




                                 CERTIFICATE OF SERVICE

         The foregoing instrument was filed using the Court’s CM/ECF system on April 23, 2020,
   which will transmit a copy to all counsel of record.

                                                  /s/ John M. Barcus
                                                John M. Barcus



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